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                                                                                 2018 Feb-28 AM 10:18
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF ALABAMA
                         (SOUTHERN DIVISION)

JAMES WALTHALL,                       )
                                      )
      PLAINTIFF,                      )
                                      )
V.                                    )             CIVIL ACTION NO.:
                                      )
EQUIFAX INFORMATION                   )             2:17-cv-01095-KOB
SERVICES, INC., ET AL.,               )
                                      )
      DEFENDANTS.                     )

                         NOTICE OF SETTLEMENT

      Plaintiff James Walthall (“Plaintiff”) hereby notifies the court that Plaintiff

and the sole remaining defendant, Experian Information Solutions, Inc.

(“Experian”), have reached a settlement in principal and are in the process of

consummating the terms of the settlement agreement. Plaintiff expects to file a

dismissal with prejudice of Experian on or before March 30, 2018.

                                Respectfully submitted,

                                /s/ Micah S. Adkins
                                Micah S. Adkins (ASB-8639-I48A)
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                                Counsel for Plaintiff




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                        CERTIFICATE OF SERVICE

      I hereby certify that on February 28, 2018, I filed the foregoing paper using
the CMECF System, which will send electronic notification of the same to the
following counsel of record:

L. Jackson Young, Jr.                       Kirkland E. Reid
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                         /s/ Micah S. Adkins
                         \Micah S. Adkins




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